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 1                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 2                                       AT SEATTLE
 3
   UNITED STATES OF AMERICA, )
 4                               )
                Plaintiff,       )                  CASE NO.      CR06-38 RSM
 5                               )
           v.                    )
 6                               )
   NIZAR SABAZ-ALI,              )                  DETENTION ORDER
 7                               )
                Defendant.       )
 8                               )
   ______________________________)
 9
     Offenses charged:
10
               Conspiracy to Smuggle and Transport Illegal Aliens, in violation of Title 8 U.S.C.,
11
               Section 1324(a)(1)(A)(I) and 1324(a)(1)(A)(ii);
12
               Bringing Illegal Aliens for Financial Gain, in violation of Title 8 U.S.C., Section
13
               1324(a)(2)(B)(ii) and Title 18 U.S.C. Section 2; and
14
               Transporting Illegal Aliens, in violation of Title 8 U.S.C. Section 1324(a)(1)(A)(ii),
15
               1324(1)(A)(v)(II) and 1324 (a)(1)(B)(i).
16
               Date of Detention Hearing: January 24, 2007
17
               The Court, having conducted an uncontested detention hearing pursuant to Title
18
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
19
     detention hereafter set forth, finds that no condition or combination of conditions which the
20
     defendant can meet will reasonably assure the appearance of the defendant as required and
21
     the safety of any other person and the community. The Government was represented by John
22
     Lulejian for Lisca Borichewski. The defendant was represented by Bruce Erickson.
23
          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
               (1) The defendant is viewed as a risk of non-appearance as he is not a citizen
25
                    of the United States and has no known ties to this district; he is associated
26


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 1                with several aliases and dates of birth; and a BICE detainer has been filed
 2                against him.
 3           (2) The defendant does not contest detention at this time.
 4 Thus, there is no condition or combination of conditions that would reasonably assure
 5 future court appearances.
 6           It is therefore ORDERED:
 7           (l) Defendant shall be detained pending trial and committed to the custody of
 8                the Attorney General for confinement in a correctional facility separate, to
 9                the extent practicable, from persons awaiting or serving sentences, or being
10                held in custody pending appeal;
11           (2) Defendant shall be afforded reasonable opportunity for private
12                consultation with counsel;
13           (3) On order of a court of the United States or on request of an attorney for the
14                Government, the person in charge of the correctional facility in which
15                Defendant is confined shall deliver the defendant to a United States
16                Marshal for the purpose of an appearance in connection with a court
17                proceeding; and
18           (4) The clerk shall direct copies of this order to counsel for the United States,
19                to counsel for the defendant, to the United States Marshal, and to the
20                United States Pretrial Services Officer.
21           DATED this 25th day of January, 2007.
22
23
                                                       A
                                                       MONICA J. BENTON
24                                                     United States Magistrate Judge

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26


     DETENTION ORDER
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